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                           UNITED STATES DISTRICT COURT

                            DISTRICT OF MASSACHUSETTS


MOHAMMAD BOZORGI, et al., Individually ) No. 1:24-mc-91041
and on Behalf of All Others Similarly Situated, )
                                                ) CLASS ACTION
                             Plaintiff,         )
                                                ) NOTICE OF APPEARANCE
       vs.                                      )
                                                )
CASSAVA SCIENCES, INC., et al.,                 )
                                                )
                             Defendants.
                                                )
                                                )




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          Please enter the appearance of Kevin A. Lavelle on behalf of Lead Plaintiff Mohammad

Bozorgi and additional plaintiffs Ken Calderone and Manohar K. Rao in the above-referenced

matter.

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                                              RACHEL JENSEN
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                                   CERTIFICATE OF SERVICE

         I hereby certify under penalty of perjury that on February 22, 2024, I hereby certify under

penalty of perjury that on February 22, 2024, I filed the foregoing document electronically, that the

foregoing document will be served electronically to registered CM/ECF participants via the NEF,

and that I will send paper copies to non-registered participants as indicated on the NEF.

                                                   s/ Kevin A. Lavelle
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